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     Attorneys for Defendant
 9   THOMAS JOSEPH DAILY
10
                                UNITED STATES DISTRICT COURT
11
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
12                                  SACRAMENTO DIVISION

13                                               ******

14   UNITED STATES OF AMERICA,                    ) CASE NO.: 09-CR-00413-MCE-5
                                                  )
15                                                )
                    Plaintiff,                    ) EX PARTE APPLICATION FOR
16                                                ) SUBSTITUTION OF COUNSEL
                    vs.                           )
17                                                )
                                                  )
18   HEINEN et al                                 )
                                                  )
19                                                )
                    Defendants.                   )
20                                                )

21
          PLEASE TAKE NOTICE that Defendant, THOMAS JOSEPH DAILY, hereby requests an
22
     order substituting J. David Nick, as his lead attorney of record, and E.D. Lerman, as his associate
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     attorney of record in the above entitled action. This application is based upon the attached
24
     declaration of counsel.
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                          EX PARTE APPLICATION FOR SUBSTITUTION OF COUNSEL
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 1   Respectfully submitted,
 2
     Date: December 22, 2009                            ------------------/s/------------------
 3                                                      J. David Nick
                                                        Attorney for defendant
 4                                                      THOMAS JOSEPH DAILY

 5
                                            DECLARATION OF COUNSEL
 6
            I, J. David Nick, am an attorney licensed to practice in the State of California.
 7
            Attorney E. D. Lerman is also an attorney licensed to practice in the State of California.
 8
            Both J. David Nick and E.D. Lerman have been admitted to practice law within the United
 9
     States District Court, Eastern District of California.
10
            On, December 21, 2009, Defendant, THOMAS JOSEPH DAILY, retained attorney J.
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     David Nick as his lead attorney of record, and E.D. Lerman as his associate attorney of record in
12
     the above entitled action.
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            It is Defendant, THOMAS JOSEPH DAILY’s wish that attorney Ronald James Peters be
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     relieved as his attorney of record and J. David Nick be substituted as his lead attorney of record,
15
     and E.D. Lerman as his associate attorney of record in the above entitled action.
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            For the forgoing reasons, Defendant, THOMAS JOSEPH DAILY, hereby requests an
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     Order relieving Ronald James Peters as his attorney of record and substituting J. David Nick as
18
     his lead attorney of record, and E.D. Lerman as his associate attorney of record in the above
19
     entitled action.
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21   I declare under penalty of perjury that the foregoing is true and correct and that this
     declaration was executed this 22nd day of December, 2009, at Mendocino, California.
22
     --------------/s/-------------------
23   J. David Nick

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26                                              Page 2 of 3
                            EX PARTE APPLICATION FOR SUBSTITUTION OF COUNSEL
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 1

 2                                               ORDER
 3         Satisfactory proof having been made and good cause appearing,
 4         IT IS ORDERED THAT:
 5         Plaintiff’s application for substitution of counsel is granted;
 6         Ronald James Peters is relieved the attorney of record for Defendant, THOMAS JOSEPH
 7   DAILY.
 8         J. David Nick is substituted as lead attorney of record, and E.D. Lerman as associate
 9   attorney of record for Defendant, THOMAS JOSEPH DAILY, in the above entitled action.
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     DATED: December 24, 2009
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12                                            __________________________________
                                              MORRISON C. ENGLAND, JR
13                                            UNITED STATES DISTRICT JUDGE

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26                                          Page 3 of 3
                        EX PARTE APPLICATION FOR SUBSTITUTION OF COUNSEL
